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U.S. Department of Justice

 

 

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BY ECF AND HAND December 13, 2018

The Honorable Joseph F. Bianeo
United States District Judge

United States District Court

Eastem District of New York

1044 Federal Plaza

Central Islip, New York 11722~4454

Re: United States v. Abdulrahman Khwaja
Docket No. 18-CR-607(JFB)

Dear Judge Bianco:

The United States respectfully submits this letter in response to the letter motion of
counsel for Abdulrahman Khwaj a (“defendant”), dated December 5 , 2018, (Dkt. No. 5 0)
(”Letter Motion”) seeking the return of Various items seized during the search of his clients
business, National Electronics in November 2018. The government requests that the motion
be dismissed as moot.

Specifically, the Letter Motion seeks the return of sales tax records of Gotham
Discounts and Wireless Place, companies operated by the defendant’s son, Ibrahim KhWaja,

to prepare tax retums. Counsel has been active in seeking the return of these and other items
either for his client or various third parties in over 30 emails, Which far from ignoring, the
government has attempted to prioritize and follow up in emails and telephone calls With
counsel. In fact, the government has responded repeatedly to counsel by both phone and
email.

Gotham Discounts and Wireless Place sales tax records at issue here Were one of the
items sought in the Letter Motion. The government sought a better description of those
records and from Where they might have been seized. Once those records Were identified
they Were retrieved and released to Ibrahim Khwaja on December 7, 2018. Also retuined at
that time, as item 3, Were the incorporation records of Ishan International and National
Electronics, Inc. A receipt documenting delivery of those records is attached as Exhibit A.

As to other statements made by counsel in his letter accusing agents of violating
Federal Rule of Criminal Procedure 41 (f)(c) and 2 in failing to leave a copy of the Warrant

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and inventory of seized property at the location, counsel is mistaken. A copy of the warrant
and inventory of seized items was hand delivered to Sayed Abdul Majid Khwaj a, who was
present in the location at the completion of the search. The government has witnesses to this
delivery. After delivering Sayed Abdul Majid Khwaja a copy of the warrant and inventory,
agents also led him through the location and showed him each location where items were
taken and what those items were.

Counsel is also mistaken in his claim that the records of Gotham Discount were
wrongiillly seized. As the search warrant evidences, attached here as Exhibit B, records of
Gotham Discount were properly seized. Indeed, as that warrant indicates, a copy of which is
attached, Gotham Discounts is a company whose records were sought by the warrant
However, Wireless Place was not mentioned in the search warrant though a company known
as Wireless Hub was. Therefore, agents are presently reviewing the materials taken from
500 Smith Street. If other records of Wireless Place are identified, they will be returned
without copies being made.

The government has submitted an order unsealing the search warrant and supporting
affldavit. Thus, regarding counsel’s demand for the affidavit underlying the search warrant,
once the Court orders it unsealed, the government will distribute it to all counsel.

As the items properly sought in the Letter Motion have been returned, we request that
the defendant’s Rule 41 motion be dismissed as moot.

Respectfully submitted,

RICHARD P. DONOGHUE

aM

BURTON T. RYAN, JR&
CHARLES P. KELLY
Assistant U. S. Attorneysw

Enclosures:

l. Receipt
2. Warrant for 500 Smith Street, Farmingdale, N.Y.

cc: Roland G. Riopelle
Counsel for defendant

